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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

          Debtors.                                            (Jointly Administered)

                                                              Obj. Deadline: June 5, 2023 at 4:00 p.m. (ET)



               NOTICE OF FILING OF MONTHLY STAFFING REPORT AND
                COMPENSATION REPORT BY OWL HILL ADVISORY, LLC
                FOR THE PERIOD APRIL 1, 2023 THROUGH APRIL 30, 2023

                 PLEASE TAKE NOTICE that on January 9, 2023, the Court entered the Order

Granting Debtors’ Motion for an Order Authorizing and Approving (I) the Retention and

Employment of Owl Hill Advisory, LLC and (II) the Designation of John J. Ray III as Chief

Executive Officer Nunc Pro Tunc to the Petition Date [D.I. 436] (the “Retention Order”), 2

approving, among other things, the retention and employment of Owl Hill Advisory, LLC (“Owl

Hill”).

                 PLEASE TAKE FURTHER NOTICE that, in accordance with paragraphs 2(d)

and 2(e) of the Retention Order, attached hereto as Exhibit A is Owl Hill’s staffing and

compensation report (the “Report”) for the period of April 1, 2023 through April 30, 2023 (the

“Reporting Period”). The Report includes (i) the names and functions engaged by the Owl Hill’s

professionals who provided services to the Debtors during the Reporting Period and (ii) a


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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
    Retention Order.
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summary of the services provided, the compensation earned and itemized expenses incurred by

Owl Hill during the Reporting Period.

               PLEASE TAKE FURTHER NOTICE that any responses or objections (the

“Objections”) to the Report shall be in writing, shall conform to the Federal Rules of Bankruptcy

Procedure and the Local Bankruptcy Rules for the District of Delaware and shall be filed with

the Court in accordance with the customary practices of the Court. Objections must be filed and

served on counsel to the Debtors, Sullivan & Cromwell LLP, 125 Broad Street, New York, New

York 10004 (Alexa J. Kranzley; kranzleya@sullcrom.com) and Landis Rath & Cobb LLP, 919

Market Street, Wilmington, Delaware 19801 (Kimberly A. Brown; brown@lrclaw.com), so as to

be received no later than 4:00 p.m. ET on June 5, 2023 (the “Objection Deadline”).

               PLEASE TAKE FURTHER NOTICE that in accordance with the Retention

Order, if no Objection to the Report is filed and served by the Objection Deadline, the Debtors

may promptly pay all requested compensation and expenses.




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Dated: May 22, 2023                       LANDIS RATH & COBB LLP
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